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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                :
 CORNEL WEST AND MELINA                         :   No. 2:24-cv-01349
 ABDULLAH, GERALDINE                            :
 TUNSTALLE, KATHERINE HOPKINS-                  :   (filed electronically)
 BOT, AND CHARLES HIER,                         :
                                                :
                            Plaintiffs,         :
                                                :
                v.                              :
                                                :
 PENNSYLVANIA DEPARTMENT OF                     :
 STATE AND AL SCHMIDT, IN HIS                   :
 CAPACITY AS SECRETARY OF THE                   :
 COMMONWEALTH,                                  :
                                                :
                            Defendants.


  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF UNOPPOSED
    MOTION FOR EXTENSION OF TIME TO FILE STATUS UPDATE

      Plaintiffs initiated this action in advance of the 2024 General Election

seeking declaratory and injunctive relief, alleging Defendants’ interpretation of the

Election Code provisions governing nomination of political body candidates was in

violation of the First and Fourteenth Amendments of the United States

Constitution.

      By Order dated November 27, 2024, this Court directed the parties to file an

update by December 6, 2024, as to whether they intend on dismissing this case.

Defendants filed a status report indicating that they do not object to dismissal of

the action. Plaintiffs were not able to file a status report by this deadline.

Accordingly, the Court directed Plaintiffs to provide by December 11, 2024 their

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position regarding dismissal and show why the action should not be dismissed for

mootness.

      Plaintiffs assert that this action was not mooted by the passage of the 2024

General Election. Nevertheless, despite good faith efforts, undersigned counsel has

not yet been able to confer with all Plaintiffs regarding their desire to continue the

present litigation prior to this Court’s December 6 deadline and now December 11

deadline. Accordingly, Plaintiffs respectfully request that this Court grant a brief

extension to December 13 for Plaintiffs to submit their status report with the Court

regarding their intent to proceed with the litigation. Plaintiffs sought Defendants

concurrence in this requested relief and Defendants do not oppose the extension.

                                        Respectfully submitted,

Dated: December 11, 2024                /s/ Matthew H. Haverstick
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